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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al., 1                              CASE NO.: 21-32351 (DRJ)
             Debtors.                                                  (Jointly Administered)

                STIPULATION AND AGREED ORDER REGARDING
         INTERTEK USA INC.’S EMERGENCY MOTION FOR RELIEF FROM
        AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d) AND FOR WAIVER
          OF THE 14-DAY STAY PURSUANT TO FED. R. BANKR. P. 4001(a)(3)

         This stipulation (the “Stipulation”) and agreed order (the “Agreed Order”) is entered into

as of March 11, 2022, between (i) Limetree Bay Services, LLC and its debtor affiliates

(collectively, the “Debtors”), as debtors and debtors in possession in the above-captioned, jointly

administered chapter 11 cases (collectively, the “Chapter 11 Cases”), and (ii) Intertek USA Inc.

(“Intertek”). The Debtors and Intertek may be referred to hereinafter collectively as the “Parties”

and each individually as a “Party.” By and through their undersigned counsel, the Parties hereby

stipulate and agree as follows:

        A.         On July 12, 2021 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the

“Bankruptcy Code”), in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”)—thereby commencing the Chapter 11 Cases.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.




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      B.       On December 6, 2021, Intertek filed its Emergency Motion for Relief from

Automatic Stay Pursuant to 11 U.S.C. § 362(d) and for Waiver of the 14-Day Stay Pursuant to

Fed. R. Bankr. P. 4001(a)(3) [Docket No. 868] (the “Intertek Motion”).

      C.       On December 21, 2021, the Debtors filed their Response to Intertek USA Inc.’s

Limited Objection and Reservation of Rights to Sale [Docket No. 969] (the “Response”).

      D.       On February 1, 2022, the Court conducted a hearing on the Intertek Motion (the

“Hearing”). During the Hearing, the Court inquired whether the Intertek Motion must be brought

as an adversary proceeding pursuant to Rule 7001 of the Federal Rules of Bankruptcy Procedures

(the “Bankruptcy Rules”). The Parties agreed to continue the Hearing in order to discuss the

potential waiver of Bankruptcy Rule 7001, to the extent applicable, and resolution of the Intertek

Motion as a contested matter pursuant to Bankruptcy Rule 9014.

      E.       The Parties have reached an agreement to resolve the Intertek Motion as a contested

matter pursuant to Bankruptcy Rule 9014 on the terms set forth herein and, based thereon, stipulate

to entry of the within Agreed Order.

       Based on the agreement of the Parties, and, after due and adequate consideration, finding

good and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

       1.      The Stipulation is approved as set forth herein.

       2.      Subject to the terms of this Stipulation and Agreed Order, the Parties hereby agree

to waive compliance with Bankruptcy Rule 7001, to the extent applicable, solely in connection

with the resolution of the Intertek Motion and, based thereon, the Intertek Motion shall be treated

as a contested matter pursuant to Bankruptcy Rule 9014.

       3.      For all purposes, the Parties agree that the Intertek Motion shall be treated as a

motion arising out of a declaratory relief action filed by Intertek to resolve the issue of whether



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the Intertek Equipment (as defined in the Intertek Motion) constituted property of the Debtors’

bankruptcy estates pursuant to Section 541 of the Bankruptcy Code on the Petition Date. The

Parties agree that resolution of this issue hinges on whether the transaction pertaining to the

Intertek Equipment pursuant to Section 3.6 of the Contract (as defined in the Intertek Motion)

constituted a “true lease” or financing transaction (express or disguised) under Section 1-203 of

the Uniform Commercial Code as adopted and applied under applicable law (the “Question

Presented”).

       4.      The Parties may prepare and submit additional briefing on the Question Presented

in accordance with the following deadlines:

               a. No later than March 24, 2022, Intertek may file its initial brief (the “Intertek

                   Brief”) and any and all supporting documents, exhibit, declarations or other

                   supporting evidence;

               b. No later than April 25, 2022, Debtors may file their response brief (“Response

                   Brief”) and any and all supporting documents, exhibit, declarations or other

                   supporting evidence; and

               c. No later than May 2, 2022, Intertek may file any reply brief.

       5.      The Parties shall negotiate in good faith to prepare and submit a joint statement of

undisputed facts (the “Joint Statement”) relevant to the resolution of the Question Presented and

disposition of the Intertek Motion. The Parties shall file the Joint Statement no later than March

17, 2022. In the event the Parties are unable to reach agreement with respect to the inclusion of

any fact(s) in the Joint Statement or any fact(s) is subject to a genuine dispute, each Party may file

a separate statement of disputed facts (each, a “Separate Statement”) in support of their respective




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briefs. Any Separate Statements shall be filed contemporaneously with the Party’s initial brief, as

provided in Paragraphs 4.a and 4.b.

       6.      In order to expedite the proceedings and avoid potentially-unnecessary discovery,

the Parties agree that any and all direct testimony shall be presented exclusively by written

declaration or affidavit. The Party proffering such direct testimony shall file the subject written

declaration or affidavit contemporaneously with the Party’s initial brief, as provided in Paragraphs

4.a and 4.b. The Parties reserve the right to conduct expedited, limited written discovery pertaining

to any testimony proffered by written declaration or affidavit without leave of the Court; provided,

however, the Parties reserve the right to seek Court intervention to compel, quash, limit, or

otherwise protect their rights with respect to any discovery so propounded, to the extent permitted

under applicable rules. The Parties shall make any and all declarants and affiants available and

the Parties shall be entitled to cross-examine any and all declarants and affiants during the

Evidentiary Hearing (defined below). Unless otherwise agreed by the Parties in writing, a Party’s

failure to present direct testimony via written declaration or affidavit in a timely manner shall

constitute a waiver of the right to present such testimony during the Evidentiary Hearing or any

other proceeding related to the Intertek Motion or Question Presented.

       7.      The Court shall hold a hearing to resolve the Question Presented and resolve the

Intertek Motion (the “Evidentiary Hearing”) on [_______], 2022, at __:__ a.m./p.m., or as soon

thereafter as the Court may hear the matter.

       8.      The Parties may extend or continue any dates or deadlines provided herein,

including, without limitation, the Evidentiary Hearing, by mutual agreement and notice to the

Court. Any continued date for the Evidentiary Hearing shall be subject to Court availability and

approval.



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         9.       Subject to Court approval, this Stipulation shall be deemed binding on, and shall

inure to, the benefit of the Parties, and their successors and assigns. Each individual executing this

Stipulation and Agreed Order represents and warrants that he or she has the authority to execute

this Stipulation and Agreed Order on behalf of the Party he or she purports to bind and that when

executed by the undersigned, the Parties will be bound hereunder. This Stipulation and Agreed

Order may be executed by facsimile or electronic signature in two or more counterparts, each of

which shall be deemed to be an original, but all of which together shall constitute one instrument.

         10.      The Court shall retain jurisdiction for all purposes related to the interpretation and

implementation of this Stipulation and Agreed Order.

         11.      None of the Parties will be considered to be the drafter of this Stipulation or any

provision of it for the purpose of any statute, case law, or rule of interpretation or construction that

would or might cause any provision to be construed against the drafter. This Stipulation was

drafted with substantial input by all Parties, all of whom were represented by counsel of their

choosing.

         12.      In the event this Stipulation is not approved by the Court or is not executed by the

Parties, (a) nothing herein shall prejudice or otherwise affect the rights of the Parties hereto for

any reason and (b) the rights and obligations of the Parties under this Stipulation shall be null and

void ab initio.


Dated:
                                                         Honorable David R. Jones
                                                         Chief United States Bankruptcy Judge




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STIPULATED AND AGREED:

Dated: March 11, 2022                     BAKER & HOSTETLER LLP

                                          /s/ Elizabeth A. Green
                                          Elizabeth A. Green, Esq.
                                          Fed ID No.: 903144
                                          SunTrust Center, Suite 2300
                                          200 South Orange Avenue
                                          Orlando, FL 32801-3432
                                          Telephone: 407.649.4000
                                          Facsimile: 407.841.0168
                                          Email: egreen@bakerlaw.com

                                          Jorian L. Rose, Esq.
                                          Admitted Pro Hac Vice
                                          N.Y. Reg. No. 2901783
                                          45 Rockefeller Plaza
                                          New York, New York 10111
                                          Telephone: 212.589.4200
                                          Facsimile: 212.589.4201
                                          Email: jrose@bakerlaw.com

                                          Michael T. Delaney, Esq.
                                          Admitted Pro Hac Vice
                                          OH Bar No. 99790
                                          Key Tower, 127 Public Sq.
                                          Suite 2000
                                          Cleveland, OH 44114
                                          Telephone: 216.621.0200
                                          Facsimile: 216.696.0740
                                          Email: mdelaney@bakerlaw.com

                                          Counsel for the Debtors and Debtors in
                                          Possession




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 Dated: March 11, 2022                     LEWIS BRISBOIS BISGAARD & SMITH LLP

                                           /s/ Vincent F. Alexander
                                           Vincent F. Alexander, Esq.
                                           Admitted Pro Hac Vice
                                           Fla. Bar No. 68114
                                           110 SE 6th Street, Suite 2600
                                           Fort Lauderdale, Florida 33301
                                           Tel.: 954-728-1280
                                           Fax: 954-728-1282
                                           Vincent.Alexander@lewisbrisbois.com

                                           Counsel for Intertek USA Inc.




                                    Certificate of Service

       I HEREBY CERTIFY that on March 11, 2022, a true copy of the foregoing was filed
with the Court using the CM/ECF System, which will provide notice of such filing to all parties
requesting such service.

                                                   /s/ Elizabeth A. Green
                                                   Elizabeth A. Green




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